
41 So. 3d 1175 (2010)
In re John Brewster OHLE, III.
No. 2010-B-1707.
Supreme Court of Louisiana.
August 13, 2010.

ORDER
Considering the Petition for Interim Suspension filed by the Office of Disciplinary Counsel,
IT IS ORDERED that John Brewster Ohle, III, Louisiana Bar Roll number 22510, be and he hereby is suspended from the practice of law on an interim basis pursuant to Supreme Court Rule XIX, § 19, pending further orders of this court.
IT IS FURTHER ORDERED that necessary disciplinary proceedings be instituted in accordance with Supreme Court Rule XIX, §§ 11 and 19.
FOR THE COURT:
/s/ Marcus Clark
Justice, Supreme Court of Louisiana
